Case 4:09-cr-40029-LLP        Document 947        Filed 08/05/10      Page 1 of 1 PageID #: 2791


                                                                                   FILED
                             UNITED STATES DISTRICT COURT                          AlXi 0 5 2010

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                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION

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                                    *
UNITED STATES OF AMERICA,           *     CR 09-40029-09
                                    *
            Plaintiff,              *
                                    *
      vs.                           *         AMENDED ORDER
                                    *
KERRI WELCH,                        *
                                    *
            Defendant..             *
                                    *
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       Pending before the Court is the Defendant's Plea Agreement, Factual Basis Statement, and
Supplement to Plea Agreement. A hearing to take the plea was held before the Magistrate Judge on
July 29, 2010, and Judge Simko issued a Report and Recommendation accepting the plea, and
recommending to this Court that the Defendant be adjudged guilty as charged in Count 1 of the
Fourth Superseding Indictment with Conspiracy to Distribute a Controlled Substance in violation
of21 U.S.c. §§ 841 (a)(1) and 846. After a careful review of the file, and the parties having waived
their right to object to the Report and Recommendation,
       IT IS ORDERED:

       1.      That the Magistrate Judge's Report and Recommendation is ADOPTED by
               the Court, and the Defendant Kerri Welch is adjudged guilty.

       2.      That Defendant Kerri Welch shall surrender to the U.S. Marshal's Service at
               10:00 A.M. on Friday, August 6, 2010.

       Dated this   gsday of August, 2010.
                                              BY THE COURT:




ATTEST:
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                                              United States District Judge



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